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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                      AT LONDON


                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  )           Criminal No. 11-16-GFVT
         Plaintiff,                               )
                                                  )
 V.                                               )                      ORDER
                                                  )
 ROGER WOOLUM,                                    )
                                                  )
        Defendant.                                )
                                                  )
                                                  )


                                       *** *** *** ***

       This matter is before the Court upon the reported violations of supervised release

conditions by Defendant Roger Woolum. This issue was referred to Magistrate Judge Hanly A.

Ingram [R. 174], who conducted a hearing pursuant to Federal Rule of Criminal Procedure

32.1(b). [R. 183]. Following this hearing, Judge Ingram prepared a Recommended Disposition,

in which he recommended revocation of supervised release and imprisonment for a

term of one month based on the violations found, followed by a 35-month term of supervised

release under the conditions previously imposed, with the added condition of weekly drug

testing during the first three months of supervised release. [R. 184].

       Pursuant to 28 U.S.C. § 636(b)(1), a party has fourteen days after being served with a

copy of the Recommended Disposition to file a specific written objection. Upon receiving an

objection by a party, this Court must conduct a de novo review of the portion of the

Recommended Disposition to which the party specifically objected. However, as Judge Ingram


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warned in his Recommended Disposition, “Failure to make timely objection consistent with this

statute and rule may, and normally will, result in waiver of further appeal to or review by the

District Court or Court of Appeals. See United States v. Walters, 638 F.2d 947, 950 (6th Cir.

1981); Thomas v. Arn, 106 S. Ct. 466 (1985).” [R. 184].

         Woolum has responded to the Recommended Disposition, indicating that he does not

have an objection. [R. 185]. Further, the Defendant has also filed a waiver of allocution [R.

185-1], expressly waiving any right he might have had to a hearing prior to a final judgment by

this Court. Therefore, the Court having now reviewed the Recommended Disposition hereby

accepts the recommendation of the Magistrate Judge and adopts it as and for the opinion of this

Court.

         Accordingly, it is hereby ORDERED as follows:

         1.     The Magistrate Judge’s Recommended Disposition [R.185] is ADOPTED as and

for the opinion of this Court;

         2.     The Defendant’s supervised release is revoked in favor of imprisonment for a

term of one month based on the violations found, followed by a 35-month term of supervised

release under the conditions previously imposed, with the added condition of weekly drug testing

during the first three months of supervised release.

         3.     An Amended Judgment shall be entered.

         This 6th Day of November, 2013.




                                                 2
